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     EXHIBIT A
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                                                                    Invasion of Privacy Act, Cal. Penal Code § 630, et seq.
                     2024 WL 878100                                 (“CIPA”); (5) violation of California Unfair Competition
      Only the Westlaw citation is currently available.             law, Cal. Bus. & Prof. Code, § 17200, et seq. (“UCL”);
       United States District Court, C.D. California.               (6) invasion of privacy under California constitution; (7)
                                                                    invasion of privacy – intrusion upon seclusion; (8) breach of
                         B.K. et al                                 implied contract; (9) violation of California Consumers Legal
                            v.                                      Remedies Act, Cal. Civ. Code § 1750, et seq. (“CLRA”);
              Eisenhower Medical Center, et al.                     (10) violation of California Penal Code § 496(a) and (c);
                                                                    (11) negligence; (12) breach of confidence; (13) breach of
             Case No. EDCV 23-2092 JGB (KKx)                        fiduciary duty; and (14) unjust enrichment. (See Complaint.)
                              |
                      Filed 02/29/2024                              On December 15, 2023, Defendant moved to dismiss the
                                                                    Complaint pursuant to Federal Rule of Civil Procedure
Attorneys and Law Firms
                                                                    12(b)(6). 1 (See Motion.) On January 15, 2024, Plaintiffs
MAYNOR GALVEZ, Deputy Clerk, Attorney(s) Present for                opposed the Motion. 2 (“Opposition,” Dkt. No. 20.) In
Plaintiff(s): None Present                                          support, Plaintiffs filed the declaration of Yana Hart. (“Hart
                                                                    Declaration,” Dkt. No. 21.) On January 22, 2024, Plaintiffs
Not Reported, Court Reporter, Attorney(s) Present for               filed a notice of supplemental authority. (Dkt. No. 22.)
Defendant(s): None Present                                          On February 5, 2024, Defendant replied. (“Reply,” Dkt.
                                                                    No. 24.) On February 28, 2024, Plaintiffs filed a notice of
                                                                    supplemental authority. (Dkt. No. 27.)
   Proceedings: Order (1) GRANTING Defendant's
  Motion to Dismiss (Dkt. No. 18); and (2) VACATING
    the March 4, 2024 Hearing (IN CHAMBERS)
                                                                                 II. FACTUAL ALLEGATIONS
The Honorable JESUS G. BERNAL, UNITED STATES
                                                                    Plaintiffs allege the following facts, which are assumed to be
DISTRICT JUDGE
                                                                    true for the purposes of this Motion. See Am. Fam. Ass'n, Inc.
 *1 Before the Court is defendant Eisenhower Medical                v. City & Cnty. of San Francisco, 277 F.3d 1114, 1120 (9th
Center's (“Eisenhower” or “Defendant”) motion to dismiss            Cir. 2002).
pursuant to Federal Rules of Civil Procedure 12(b)(6).
(“Motion,” Dkt. No. 18.) The Court determines this matter           Defendant is a nonprofit healthcare organization
appropriate for resolution without a hearing. See Fed. R. Civ.      that     maintains    the     public       website    https://
P. 78; L.R. 7-15. After considering the papers filed in support     www.eisenhowerhealth.org (“Website”). (Complaint ¶¶
of and in opposition to the Motion, the Court GRANTS the            5-6.) Defendant has failed to implement adequate and
Motion. The Court VACATES the March 4, 2024 hearing.                reasonable measures to ensure that the website visitors and
                                                                    users' (“Users”) personally identifiable information (“PII”)
                                                                    and protected health information (“PHI”) (collectively,
                                                                    “Private Information”) was safeguarded. (Id. ¶ 6.) Defendant
                     I. BACKGROUND                                  allowed unauthorized third parties, including Meta Platforms,
On October 12, 2023, plaintiffs B.K. and N.Z., (collectively,       Inc. d/b/a Facebook (“Meta”) 3 to intercept the Users' clicks,
“Plaintiffs”) individually, and on behalf of all others similarly   communications on, and visits of Defendant's website. (Id.)
situated, filed a complaint against Defendant. (“Complaint,”        Unbeknownst to Users and without Users' authorization or
Dkt. No. 1.) The Complaint alleges fourteen causes of               informed consent, Defendant installed third-party analytics
action: (1) violation of California Confidentiality of Medical      tools called the Meta Pixel and Conversions API (“CAPI”)
Information Act, Cal. Civ. Code § 56, et seq. (“CMIA”);             (collectively, the “Pixels”) and other third-party tracking
(2) violation of Electronic Communications Privacy Act, 18          technology on its Website. (Id. ¶ 7.) The Pixels are
U.S.C. § 2511(1), et seq. (“ECPA”); (3) violation of ECPA,          snippets of code that track Users as they navigate through a
18 U.S.C. § 2511(3)(a), et seq.; (4) violation of California        website. (Id. ¶ 8.) The Pixels collect Users' confidential and



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private PHI—including but not limited to details about their        specific medical inquiries and treatment. (Id. ¶ 174.) Plaintiffs
medical conditions, treatments and providers sought, and            also used the Patient Portal to refill prescriptions, look at
appointments—and send it to Meta without prior, informed            bills and payments, and to see test results and notes from
consent. (Id.)                                                      appointments. (Id. ¶ 175.)

 *2 Defendant encouraged Plaintiffs to access and use               Plaintiffs allege that as a result of the Pixels Defendant
various digital tools via its Website to receive healthcare         chose to install on its Website, Plaintiffs' information was
services. (Id. ¶ 10.) In exchange for installing the Pixels, Meta   “intercepted, viewed analyzed, and used by unauthorized
provides Defendant with analytics about the advertisements it       third parties.” (Id. ¶ 176.) Plaintiffs have used and
has placed as well as tools to target people who have visited       continue to use the same devices to maintain and to
its Website. (Id. ¶ 11.) The Pixels can track and log each page     access active Facebook accounts through the relevant
a user visits and the use of Pixels on the Website tracks PHI.      period in this case. (Id. ¶ 178.) Plaintiffs reasonably
(Id. ¶¶ 13-14.)                                                     expected that their online communications were solely
                                                                    between Plaintiffs and Defendant, and relied on Defendant's
Defendant's Privacy Policy (“Privacy Policy”) states:               Privacy Policy in expecting Defendant would safeguard their
                                                                    Private Information. (Id. ¶ 179.) But for their status as
                                                                    Defendant's patients and Defendant's representations via its
               We are committed to protecting the                   Privacy Policy, Plaintiffs would not have disclosed Private
               privacy of your medical information.                 Information to Defendant. (Id.)
               We are required by law to maintain
               the confidentiality of information that
               identifies you and the care you receive.                              III. LEGAL STANDARD
               We ensure, to the best of our ability,
               that our systems are secure so as                    A. Rule 12(b)(6)
               to protect your personal information                 Under Rule 12(b)(6), a party may bring a motion to dismiss
               from misuse. For example, like many                  for failure to state a claim upon which relief can be granted.
               web sites, we use cookies, log files and             Rule 12(b)(6) must be read in conjunction with Rule 8(a),
               links to tell us how you use our site, but           which requires a “short and plain statement of the claim
               we do not collect or store personally                showing that a pleader is entitled to relief,” in order to give
               identifiable information.                            the defendant “fair notice of what the claim is and the grounds
                                                                    upon which it rests.” Bell Atlantic Corp. v. Twombly, 550
                                                                    U.S. 544, 555 (2007); see Ileto v. Glock Inc., 349 F.3d
(Id. ¶ 105.)                                                        1191, 1199-1200 (9th Cir. 2003). When evaluating a Rule
                                                                    12(b)(6) motion, a court must accept all material allegations
                                                                    in the complaint—as well as any reasonable inferences to
Plaintiffs 4 have been patients at Eisenhower for over
                                                                    be drawn from them—as true and construe them in the
eight years and have been using the Website for over
                                                                    light most favorable to the non-moving party. See Doe v.
three years. (Id. ¶¶ 171, 181.) Plaintiffs started to receive
                                                                    United States, 419 F.3d 1058, 1062 (9th Cir. 2005); ARC
unsolicited advertisements on their Facebook accounts
                                                                    Ecology v. U.S. Dep't of Air Force, 411 F.3d 1092, 1096
relating to their medical conditions shortly after visiting
                                                                    (9th Cir. 2005); Moyo v. Gomez, 32 F.3d 1382, 1384 (9th
the Website. (Id.) Plaintiffs used a feature on the Website
                                                                    Cir. 1994). Courts are not required, however, “to accept
called “MyChart” (“Patient Portal”) which allows users to
                                                                    as true allegations that are merely conclusory, unwarranted
access their medical records online and to communicate
                                                                    deductions of fact, or unreasonable inferences.” In re Gilead
with Defendant's providers online. (Id. ¶ 172.) While using
                                                                    Scis. Sec. Litig., 536 F.2d 1049, 1055 (9th Cir. 2008) (internal
the Website, Plaintiffs communicated sensitive personal and
                                                                    citation and quotation omitted). Courts also need not accept as
medical information to Defendant. (Id. ¶ 173.) Plaintiffs
                                                                    true allegations that contradict facts which may be judicially
used the Website to research healthcare providers and
                                                                    noticed. See Mullis v. U.S. Bankr. Court, 828 F.2d 1385, 1388
communicate with them, research particular medical concerns
                                                                    (9th Cir. 1987).
and treatments, fill out forms and questionnaires, schedule
and attend appointments, and perform other tasks related to


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 *3 “While a complaint attacked by a Rule 12(b)(6) motion to        (7) invasion of privacy – intrusion upon seclusion; (8) breach
dismiss does not need detailed factual allegations, a plaintiff's   of implied contract; (9) violation of CLRA; (10) violation
obligation to provide the ‘grounds’ of his ‘entitlement to          of California Penal Code § 496(a) and (c); (11) negligence;
relief’ requires more than labels and conclusions, and a            (12) breach of confidence; (13) breach of fiduciary duty; and
formulaic recitation of the elements of a cause of action will      (14) unjust enrichment. (See Complaint.) Defendant moves to
not do.” Twombly, 550 U.S. at 555 (citations omitted). Rather,      dismiss all claims for failure to state a claim under Rule 12(b)
the allegations in the complaint “must be enough to raise a         (6). (See Motion at 2.)
right to relief above the speculative level.” Id.

To survive a motion to dismiss, a plaintiff must allege             A. Claim One: CMIA
“enough facts to state a claim to relief that is plausible on its   Defendant argues that Plaintiffs' CMIA claim should be
face.” Id. at 570; Ashcroft v. Iqbal, 556 U.S. 662 (2009). “The     dismissed because (1) Plaintiffs fail to plead facts showing
plausibility standard is not akin to a ‘probability requirement,’   any medical information or medical records have been
but it asks for more than a sheer possibility that a defendant      transmitted; and (2) Plaintiffs fail to allege facts showing
has acted unlawfully. Where a complaint pleads facts that are       that anyone at any third party actually improperly viewed or
‘merely consistent with’ a defendant's liability, it stops short    accessed any medical information. (Motion at 13-14.)
of the line between possibility and plausibility of ‘entitlement
to relief.’ ” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.     Plaintiffs allege violations of three provisions of the
at 556). The Ninth Circuit has clarified that (1) a complaint       CMIA: Section 56.10, which prohibits disclosure of medical
must “contain sufficient allegations of underlying facts to give    information without prior authorization; Section 56.101,
fair notice and to enable the opposing party to defend itself       which penalizes negligently maintaining or storing medical
effectively,” and (2) “the factual allegations that are taken as    information; and Section 56.36(b), which prohibits the
true must plausibly suggest an entitlement to relief, such that     negligent release of confidential information or records.
it is not unfair to require the opposing party to be subjected      (Complaint ¶¶ 213-224); Cal. Civ. Code §§ 56.10(a),
to the expense of discovery and continued litigation.” Starr v.     56.101(a), 56.36(b).
Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
                                                                     *4 Section 56.10 states, “A provider of health care,
                                                                    health care service plan, or contractor shall not disclose
B. Rule 15                                                          medical information regarding a patient of the provider of
Rule 15 provides that leave to amend “shall be freely given         health care or an enrollee or subscriber of a health care
when justice so requires.” Fed. R. Civ. P. 15(a). The Ninth         service plan without first obtaining an authorization.” Cal.
Circuit has held that “ ‘[t]his policy is to be applied with        Civ. Code § 56.10 (emphasis added). “Disclosure” in this
extreme liberality.’ ” Eminence Cap., L.L.C. v. Aspeon, Inc.,       context “refers to affirmative communicative acts—giving
316 F.3d 1048, 1051 (9th Cir. 2003) (quoting Owens v. Kaiser        out medical information on a patient.” Sutter Health v.
Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001)).       Superior Court, 174 Cal. Rptr. 3d 653 (2014); see Regents
Generally, a “district court should grant leave to amend even       of Univ. of California v. Superior Ct., 163 Cal. Rptr. 3d
if no request to amend the pleading was made, unless it             205 (2013), as modified on denial of reh'g (Nov. 13, 2013)
determines that the pleading could not possibly be cured by         (“Disclose” ... is an active verb, denoting in the context
allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1127     of CMIA and the protections afforded confidential medical
(9th Cir. 2000) (en banc) (citation omitted).                       information an affirmative act of communication.”).

                                                                    Here, Plaintiffs allege that Defendant violated Section 56.10
                                                                    because they knowingly, willfully, or negligently disclosed
                      IV. DISCUSSION
                                                                    Plaintiffs' medical information to Meta, allowing Meta to
Plaintiffs bring fourteen causes of action. (See Complaint.)        now advertise and target Plaintiffs. (Complaint ¶ 218.)
Plaintiffs assert the following: (1) violation of CMIA; (2)         Plaintiffs allege that they started to receive unsolicited
violation of ECPA; (3) violation of ECPA, 18 U.S.C. §               advertisements on their Facebook accounts relating to their
2511(3)(a), et seq.; (4) violation of CIPA; (5) violation of        medical conditions shortly after visiting the Website. (Id. ¶¶
UCL; (6) invasion of privacy under California constitution;         171, 181.) However, Plaintiffs fail to allege what, if any,
                                                                    medical information or medical records were transmitted


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or disclosed. Notably, Plaintiffs' Complaint is 90 pages          procured another person to intercept or endeavor to intercept
long but includes less than four pages of vague allegations       (3) the contents of (4) an electronic communication, (5) using
about Plaintiffs and their experiences with Defendant. (See       a device. 18 U.S.C. §§ 2510 et seq. Similarly, CIPA prohibits
Complaint.) The Complaint is replete with conjectures and         any person from using electronic means to “learn the contents
hypothetical scenarios and patients. (Id. ¶¶ 50-57; 74-96.)       or meaning” of any “communication” “without consent” or
Plaintiffs fail to allege any specificity as to what medical      in an “unauthorized manner.” Cal. Pen. Code § 631(a). Under
information was allegedly disclosed or when it was disclosed.     both the ECPA and CIPA, “[i]t shall not be unlawful ...
B.K. states she started using the Website over three years        for a person ... to intercept a[n] electronic communication
ago and started receiving unsolicited ads “shortly after” but     where such person is a party to the communication,” so long
provides no more information about the alleged disclosures.       as such interception is not “for the purpose of committing
(Id. ¶ 171.) N.Z. alleges the same pattern but states that it     any criminal or tortious act” (“party exception”). 18 U.S.C.
occurred “over seven years ago.” (Id. ¶ 181.) Accordingly,        § 2511(2)(d); see In re Facebook, Inc. Internet Tracking
Plaintiffs' claim under Section 56.10 fails.                      Litigation, 956 F.3d 589, 607 (9th Cir. 2020) (“Both [the
                                                                  ECPA and CIPA] contain an exemption from liability for a
Section 56.101 penalizes those who negligently maintain           person who is a ‘party’ to the communication, whether acting
or store medical information. Cal. Civ. Code § 56.101. A          under the color of law or not.”) (citing 18 U.S.C. §§ 2511(2)
plaintiff must allege that a defendant's “negligence result[ed]   (c), (d); Warden v. Kahn, 160 Cal. Rptr. 471 (1979)). “Courts
in unauthorized or wrongful access to the information,” i.e.      perform the same analysis for both the [ECPA] and CIPA
that the information was “improperly viewed or otherwise          regarding the party exemption.” In re Facebook, 956 F.3d at
accessed.” In re Ambry Genetics Data Breach Litigation, 567       607.
F. Supp. 3d 1130, 1148 (C.D. Cal. Oct. 18, 2021) (citing
Regents, 163 Cal. Rptr. 3d 205; see Sutter Health, 174 Cal.       Here, Defendant argues that they were a party to (and
Rptr. 3d 653 (“No breach of confidentiality takes place until     intended recipient of) Plaintiffs' alleged communications on
an unauthorized person views the medical information.”));         the Website and concludes that Plaintiffs' claims fail as a
see also Stasi v. Immediate Health Group Corporation, 501         result. (Motion at 17.) Plaintiffs argue that the party exception
F. Supp. 898, 922-23 (S.D. Cal. 2020). Under Section 56.36,       is inapplicable because “Defendant's wiretapping was
an individual may bring an action for damages against an          conducted with criminal and/or tortious intent.” (Opposition
entity that has negligently released confidential information     at 7.) It is clear from Plaintiffs' Complaint that Defendant was
or records. In re Ambry, 567 F. Supp. 3d, at 1148. Defendant      a party to Plaintiffs' Website communications, and Plaintiffs
argues that this claim fails because Plaintiffs do not allege     do not dispute this contention. (See Complaint.) Because
facts showing anyone improperly viewed or accessed any            Defendant was the party that was meant to, and did, receive
medical information. (Motion at 13-14.) The Court agrees.         Plaintiffs' communications on the Website, under the party
Plaintiffs' sole allegation related to this claim states: “As     exception, “any alleged interception of the communications is
a result of the Meta Pixel Defendant chose to install on          not actionable.” Pena v. GameStop, Inc., 2023 WL 3170047,
its [Website], this [information regarding [ ] appointments,      at *3 (S.D. Cal. April 27, 2023). The issue then becomes
treatments, medications, and clinical information, including      whether the alleged conduct was conducted with criminal
[ ] surgeries, lab work, and scans] was intercepted, viewed       and/or tortious intent under the statute, such that it would
analyzed, and used by unauthorized third parties.” (Complaint     qualify for the exception that renders the party exception
¶ 176.) This vague assertion—coupled with Plaintiffs' lack        inapplicable. Various courts have held that a plaintiff must
of specificity as to the alleged medical records themselves,      plead sufficient facts to support an inference that the offender
discussed above—is not enough to make out a claim for             intercepted the communication for the purpose of a tortious
negligent maintenance of medical information. The Court           or criminal act that is independent of the intentional act of
finds that Plaintiffs fail to state a claim based on Sections     recording or interception itself. Pena, 2023 WL 3170047, at
56.101(a) and 56.36(b) of the CMIA. Accordingly, the Court        *5 (citing In re Google Cookie Placement Consumer Privacy
DISMISSES Claim One WITH LEAVE TO AMEND.                          Litigation, 806 F.3d 125, 145 (3d Cir. 2015)); see Caro v.
                                                                  Weintraub, 618 F.3d 94, 100 (2d Cir. 2010).

B. Claims Two, Three and Four: ECPA and CIPA                      While Plaintiffs allege that Defendant engaged in the
 *5 An ECPA claim requires a showing that the defendant           allegedly illegal interception of their and the proposed
(1) intentionally (2) intercepted, endeavored to intercept or


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class members' information “for Defendant's commercial             Courts in this circuit have dismissed cases where, like here,
advantage,” Plaintiffs do not allege that this purpose             the injury is based on “the loss of the inherent value of
constitutes independently illegal or actionable conduct such       their personal data,” as well as where it was undisputed
that the party exception is inapplicable. (Complaint ¶ 245);       that plaintiffs paid no money to the defendant. Doe v Meta
see Pena, 2023 WL 3170047, at *5. Accordingly, the Court           Platforms, Inc., 2023 WL 5837443, at *15 (N.D. Cal. Sept.
finds that (1) the “criminal or tortious act” exception to the     7, 2023) (citing In re Facebook, Inc., Consumer Privacy
party exception is inapplicable to Plaintiffs' ECPA and CIPA       User Profile Litigation, 402 F. Supp. 3d, at 804 (noting “the
claims, (2) the party exception to Plaintiffs' ECPA and CIPA       plaintiffs here do not allege that they paid any premiums
claims exempts Defendants from liability, and (3) Plaintiffs       (or any money at all) to Facebook to potentially give rise to
fail to state a claim for violation of either statute. 5 The       standing under California law” for purposes of UCL claim
Court DISMISSES Claim Two, Claim Three, and Claim Four             and dismissing claim for failure to allege “lost money or
WITHOUT LEAVE TO AMEND.                                            property”)); see Cottle v. Plaid Inc., 536 F. Supp. 3d 461,
                                                                   484 (N.D. Cal. 2021); see also Wesch v. Yodlee, Inc., 2021
                                                                   WL 1399291, at *6 (N.D. Cal. Feb. 16, 2021) (holding that
C. Claim Five: UCL                                                 the plaintiffs had not alleged that they “surrender[ed] more
 *6 Defendant moves to dismiss Claim Five on the grounds           or acquir[ed] less in a transaction than they otherwise would
that (1) Plaintiffs have failed to state facts showing their PHI   have” for purposes of UCL standing where they had not paid
was disclosed to any third party, and (2) Plaintiffs have failed   money to the defendant).
to state facts showing how Defendant's actions (or inactions)
caused them any loss of money or property. (Motion at 22.)         The Court finds that Plaintiffs do not sufficiently allege facts
                                                                   to state a UCL claim. Accordingly, the Court DISMISSES
A UCL claim may only be brought by “a person who has               Claim Five WITH LEAVE TO AMEND.
suffered injury in fact and has lost money or property as a
result of the unfair competition.” Cal. Bus. & Prof. Code §
17204. Plaintiffs, therefore, must “demonstrate some form          D. Claims Six and Seven: Privacy Claims
of economic injury,” such as surrendering more or acquiring        To state a claim for invasion of privacy, “Plaintiffs must show
less in a transaction, having a present or future property         that (1) they possess a legally protected privacy interest, (2)
interest diminished, being deprived of money or property, or       they maintain a reasonable expectation of privacy, and (3) the
entering into a transaction costing money or property that         intrusion is “so serious ... as to constitute an egregious breach
would otherwise have been unnecessary. Kwikset Corp. v.            of the social norms” such that the breach is “highly offensive.”
Superior Court, 120 Cal. Rptr. 3d 741, 246 P.3d 877 (2011).        In re Facebook, Inc. Internet Tracking Litigation, 956 F.3d,
                                                                   at 601. “Determining whether a defendant's actions were
As discussed above, Plaintiffs fail to allege sufficient facts     ‘highly offensive to a reasonable person’ requires a holistic
to show that Defendant disclosed Plaintiffs' information.          consideration of factors such as the likelihood of serious harm
Without more detailed allegations as to what “private              to the victim, the degree and setting of the intrusion, the
information” was disclosed, how, and when it was disclosed,        intruder's motives and objectives, and whether countervailing
Plaintiffs' UCL claim fails. While this is a sufficient basis to   interests or social norms render the intrusion inoffensive.” Id.
dismiss Claim Five, in the interest of judicial economy, the       at 606.
Court addresses the loss of money requirement below.
                                                                    *7 Defendants move to dismiss Plaintiffs' privacy claims
Plaintiffs argue that they have sufficiently alleged harm under    on the grounds that there is no serious invasion of privacy
the UCL based on (1) loss of benefit of the bargain and            alleged. (Motion at 23.) Plaintiffs rely on In re Ambry, in
(2) diminution in value of their PHI. (Opposition at 14; see       which the court found that plaintiffs had adequately alleged
Complaint ¶¶ 19, 306-307.) While Plaintiffs state in their         an invasion of privacy claim. (Opposition at 16.) In re Ambry
Opposition that they allege harm under a theory of benefit of      reasoned that “[c]ourts have refused to dismiss invasion of
the bargain, their Complaint does not include these allegations    privacy claims at the motion to dismiss stage where, as here,
as to the UCL claim. (See Complaint ¶¶ 306-307.)                   a data breach involved medical information, because the
                                                                   disclosure of such information is more likely to constitute
                                                                   an ‘egregious breach of the social norms’ that is ‘highly
                                                                   offensive.’ ” In re Ambry, 567 F. Supp. 3d, at 1143. As


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the Court has already discussed above, Plaintiffs do not           of non-disclosure and acceptance through Plaintiffs'
sufficiently plead that Defendant disclosed Plaintiffs' medical    providing their Private Information, (2) consideration because
information. As the Complaint is pled, the Court can only          Defendant affirmatively promised to keep users' Private
interpret that Plaintiffs used Defendant's Website for routine     Information secure and protected, and (3) damages including
medical searches and inquiries. Because Plaintiffs fail to         loss of value of their Private Information. (Opposition at
plead that any medical information was disclosed, Plaintiffs       16-17; see Complaint ¶ 105.) The Court finds that Plaintiffs do
claims do not rise to the level of an “egregious breach of         not allege a cognizable theory of damages. The Court rejected
the social norms” that is “highly offensive.” Id.: see Low v.      Plaintiffs loss of value arguments above and does the same
LinkedIn Corp., 900 F. Supp. 2d 1010, 1025 (N.D. Cal. 2012)        here with respect to Plaintiffs' contract claim.
(finding that even disclosure of highly personal information
such as social security numbers is not “highly offensive”          A basic principle of contract law is that the “purpose of
enough to meet the “high bar for an invasion of privacy            contract damages is to put a plaintiff in the same economic
claim”). As such, the Court finds that Plaintiffs privacy claims   position he or she would have occupied had the contract been
fail. The Court DISMISSES Claim Six and Claim Seven                fully performed.” Low v. LinkedIn Corp., 900 F. Supp. 2d
WITH LEAVE TO AMEND.                                               1010, 1029 (N.D. Cal. July 12, 2012). Plaintiffs have not
                                                                   persuasively alleged that they “reasonably expect[ed] that
                                                                   they would be compensated for the ‘value’ of their personal
E. Claim Eight: Implied Contract                                   information.” Id. (citing In re Jetblue Airways Corp. Privacy
“An implied-in-fact contract requires proof of the same            Litigation, 379 F. Supp. 2d 229, 327 (E.D. N.Y. 2005).
elements necessary to evidence an express contract: mutual         Plaintiffs have not alleged that they, or any other Users,
assent or offer and acceptance, consideration, legal capacity      have been foreclosed from opportunities to capitalize on the
and lawful subject matter.” Corona v. Sony Pictures Entm't,        value of their personal information. Accordingly, the Court
Inc., 2015 WL 3916744, at *5 (C.D. Cal. June 15, 2015).            DISMISSES Claim Eight WITH LEAVE TO AMEND.
“An implied contract requires that both parties agree to its
terms and have a ‘meeting of the minds,’ but the creation of
an implied contract can be manifested by conduct rather than       F. Claim Nine: CLRA
words.” Castillo v. Seagate Tech., LLC, 2016 WL 9280242,            *8 The CLRA prohibits “unfair or deceptive acts or
at *8 (N.D. Cal. Sept. 14, 2016). Under California law, to         practices” in transactions for the sale or lease of goods or
state a cause of action for breach of contract a plaintiff must    services to consumers. Cal. Civ. Code § 1770(a). Unlawful
plead: “the contract, plaintiffs' performance (or excuse for       practices include “[r]epresenting that goods or services
nonperformance), defendant's breach, and damage to plaintiff       have ... characteristics ... uses, benefits, or quantities that they
therefrom.” Gautier v. General Tel. Co., 44 Cal. Rptr. 404         do not have” and “[r]epresenting that goods or services are
(Cal. Ct. App. 1965). California law requires a showing of         of a particular standard, quality, or grade ... if they are of
“appreciable and actual damage” to assert a breach of contract     another.” Id. § 1770(a)(5), (a)(7). Similarly, the UCL prohibits
claim. Aguilera v. Pirelli Armstrong Tire Corp., 223 F.3d          “any unlawful, unfair or fraudulent business act or practice.”
1010, 1015 (9th Cir. 2000). Nominal damages and speculative        Cal. Bus. & Prof. Code § 17200. Because the statute is written
harm do not suffice to show legally cognizable damage under        in the disjunctive, the UCL allows for separate theories of
California contract law. Ruiz v. Gap, Inc., 622 F. Supp. 2d        liability under the “unlawful,” “unfair,” and “fraudulent”
908, 917 (N.D. Cal. 2009).                                         prongs. See Hodson v. Mars, Inc., 891 F.3d 857, 865 (9th
                                                                   Cir. 2018); Cel-Tech Commc'ns, Inc. v. L.A. Cellular Tel.
Here, Plaintiffs allege that they entered into an implied          Co., 973 P.2d 527, 540 (Cal. 1999). Fraudulent omissions are
contract when they “provided their Private Information to          actionable under both the CLRA and the UCL. See Daniel v.
Defendant in exchange for services,” and that Defendant            Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015). To be
agreed to safeguard and not disclose such Private Information      actionable, an omission must be “contrary to a representation
without consent. (Complaint ¶ 335.) The Complaint includes         actually made by the defendant, or an omission of a fact the
portions of the Defendant's Privacy Policy, which Plaintiffs       defendant was obliged to disclose.” Hodsdon, 891 F.3d at 865
allege they relied on “in reasonably expecting [Defendant]         (quoting Daugherty v. Am. Honda Motor Co., 51 Cal. Rptr.
would safeguard their Private Information.” (Id. ¶¶ 179,           3d 118, 126 (2006)).
189.) Plaintiffs argue that there is (1) mutual assent based
on Defendant's representations regarding the safeguarding


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Here, Plaintiffs rely on a fraudulent omission theory of            1211, 1226-27 (9th Cir. 1997). A plaintiff must allege “(1)
consumer fraud. (See Complaint ¶¶ 342-349.) Plaintiffs allege       the plaintiff conveyed ‘confidential and novel information’
that “Defendant failed to disclose it secretly shared, used,        to the defendant; (2) the defendant had knowledge that the
and allowed third parties to intercept Plaintiffs' and Subclass     information was being disclosed in confidence; (3) there was
Members' Private Information.” (Id. ¶ 346.) Defendant argues        an understanding between the defendant and the plaintiff
that Plaintiffs' “vague allegations that [Defendant] allegedly      that the confidence be maintained; and (4) there was a
made false representations” are insufficient to satisfy the         disclosure or use in violation of the understanding.” Id. at
pleading standard required by the CLRA. (Motion at 26). The         1227. As discussed above, Plaintiffs fail to sufficiently allege
Court agrees. As discussed above, Plaintiffs fail to sufficiently   disclosure. As a result, Plaintiffs' breach of confidence claim
allege the underlying act that Defendant “secretly shared,          fails. The Court DISMISSES Claim Twelve WITH LEAVE
used, and allowed third parties to intercept.” (See Complaint ¶     TO AMEND.
346.) Without this, the Court finds that Plaintiffs CLRA claim
fails. The Court DISMISSES Claim Nine WITH LEAVE TO
AMEND.                                                              J. Claim Thirteen: Fiduciary Duty
                                                                     *9 To allege breach of fiduciary duty, a plaintiff must show
                                                                    “(1) existence of a fiduciary duty; (2) breach of the fiduciary
G. Claim Ten: Larceny                                               duty; and (3) damage proximately caused by the breach.”
California Penal Code Section 496(a) prohibits the obtaining        Vaxiion Therapeutics, Inc. v. Foley & Lardner LLP, 593 F.
of property “in any manner constituting theft.” Cal. Penal          Supp. 2d 1153, 1169 (S.D. Cal. 2008).
Code § 496(a). Defendant argues that Plaintiffs' larceny claim
should be dismissed because “Plaintiffs have not clearly            Here, Plaintiffs allege that Defendant breached its fiduciary
identified the specific representations that Meta made to them      duties to Plaintiffs by “disclosing their Private Information
that support their larceny claim.” (Motion at 26.) Plaintiffs       to unauthorized third parties, and separately, by failing to
allege that Defendant stole Plaintiffs' personal information        notify” Plaintiffs of this fact. (Complaint ¶ 391.) Defendant
without Plaintiffs' consent. (Complaint ¶¶ 355-356.) Plaintiffs     argues that Plaintiffs do not state facts showing that
do not allege any specific facts related to stealing or theft       Defendant breached any duty, including the disclosure of
of information. Because the Court has already found that            any of Plaintiffs' medical information or the content of any
Plaintiffs do not sufficiently plead facts to support the finding   confidential communications with their medical providers.
that Defendant disclosed Plaintiffs information, the Court          (Motion at 29.) As discussed above, the Court finds that
finds that Plaintiffs' larceny claim fails. Accordingly, the        Plaintiffs do not sufficiently allege that Defendant disclosed
Court DISMISSES Claim Ten WITH LEAVE TO AMEND.                      their information. Moreover, Plaintiffs fail to respond to
                                                                    Defendant's argument in any way. Accordingly, the Court
                                                                    DISMISSES Claim Thirteen WITH LEAVE TO AMEND.
H. Claim Eleven: Negligence
Plaintiffs argue that their negligence claim is sufficiently
pleaded because they were injured “when their Private               K. Claim Fourteen: Unjust Enrichment
Information was wrongfully divulged and misused” and                Plaintiffs' unjust enrichment claim is premised on the
due to the loss of the value of their Private Information.          same theories outlined above—Plaintiffs allege that
(Opposition at 19.) The Court has already rejected both of          “Defendant was unjustly enriched by receiving, disclosing,
these arguments above. Plaintiffs fail to persuade the Court        and using Plaintiffs' Private Information without their
to find differently as to their negligence claim. Accordingly,      consent.” (Opposition at 20; Complaint ¶¶ 297-303.)
the Court DISMISSES Claim Eleven WITH LEAVE TO                      Plaintiffs do not allege any facts that would lead the Court to
AMEND.                                                              find that Defendant was unjustly enriched. Above, the Court
                                                                    finds that Plaintiffs fail to plead facts showing that Defendant
                                                                    disclosed Plaintiffs information—Plaintiffs fail to persuade
I. Claim Twelve: Breach of Confidence                               the Court that it should come to a different conclusion as
Breach of confidence under California law “is based upon            to Claim Fourteen. Without specific allegations about the
the concept of an implied obligation or contract between the        underlying information that was allegedly disclosed, it is
parties that confidential information will not be disclosed.”       unclear to the Court how, if at all, Defendant was unjustly
Ent. Rsch. Grp., Inc. v. Genesis Creative Grp., Inc., 122 F.3d      enriched. Plaintiffs plead that “[i]t would be inequitable and


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unjust to permit Defendant to retain the enormous economic             3. Claims Two, Three, and Four are DISMISSED
benefits (financial and otherwise) it has obtained from and/or           WITHOUT LEAVE TO AMEND.
at the expense of Plaintiffs and Class Members.” (Complaint
¶ 401.) While Plaintiffs allege that “a complete health care           4. Plaintiffs' Complaint is DISMISSED WITH LEAVE
record sells for $250 on average,” the Complaint does not                 TO AMEND.
include facts specific to unjust enrichment of Defendant
resulting from Plaintiffs' information. Accordingly, the Court         5. Plaintiffs may file an amended complaint no later than
DISMISSES Claim Fourteen with LEAVE TO AMEND.                             March 22, 2024.

                                                                       6. The Court VACATES the March 4, 2024 hearing.

                     V. CONCLUSION                                   IT IS SO ORDERED.

For the above reasons, the Court ORDERS as follows:
                                                                     All Citations
    1. Defendant's Motion is GRANTED.
                                                                     Slip Copy, 2024 WL 878100
    2. Claims One, Five, Six, Seven, Eight, Nine, Ten, Eleven,
       Twelve, Thirteen, and Fourteen are DISMISSED
       WITH LEAVE TO AMEND.




                                                         Footnotes


1       All subsequent references to “Rule” refer to the Federal Rules of Civil Procedure, unless otherwise noted.

2       Throughout their Opposition, Plaintiffs use LEXIS, rather than Westlaw for their legal citations. (See
        Opposition.) The Court's Standing Order instructs litigants to cite to Westlaw rather than Lexis. The Court
        admonishes Plaintiffs for failing to comply with the Court's Standing Order and orders them to comply in the
        future. (See Dkt. No. 10 § 9(b).)

3       Although Plaintiffs refer to “Facebook” in their Complaint, in the interest of consistency and accuracy, the
        Court uses the name “Meta” to refer to both “Facebook” and “Meta.”

4       Both Plaintiffs—B.K. and N.Z.—allege nearly identical facts in the Complaint. (See Complaint ¶¶ 171-190.)
        The only notable differences are that B.K. used the Website for her knee condition and N.Z. used the Website
        for herself and her husband. (Id.) As such, the Court will refer to the Plaintiffs' allegations as one unless
        otherwise noted.

5       Plaintiffs briefly argue that their allegations under 18 U.S.C. §§ 2511(a)(c) & (d) provide an alternative bases
        of liability in which the party exception does not apply. (Opposition at 8.) “Instead, sub-sections (c) and
        (d) provide for liability for disclosure or use of intercepted communications regardless of who intercepts
        the communications.” (Id.) Because the Court finds that Plaintiffs do not sufficiently allege that Defendant
        disclosed their information, the Court rejects this argument.



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